     Case 1:13-cv-00229-PLM ECF No. 1 filed 02/28/13 PageID.1 Page 1 of 14




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


CHERYL BESSER, individually and on behalf of
all others similarly situated,                                 Case No.

                         Plaintiff,

       v.                                                     Complaint – Class Action

STURGIS BANK & TRUST COMPANY,

                         Defendant.                            Jury Demanded



                   CLASS ACTION COMPLAINT – JURY DEMANDED

       Comes now Cheryl Besser, (“Plaintiff”), on behalf of herself and all others similarly

situated and alleges as follows:

                                        INTRODUCTION

       1.      Plaintiff Besser is a blind individual. Her condition was caused by juvenile

rheumatoid arthritis and she has been completely blind for the past thirty-two years.

       2.      As Plaintiff goes about her daily business, she regularly has occasion to make use

of the banking services that are available through Automated Teller Machines (“ATMs”), so long

as those ATMs are accessible to the blind. As discussed at length below, federal law includes

very specific provisions calculated to guarantee that ATMs are accessible to blind and visually-

impaired individuals.1




1
        Plaintiff invokes the term “accessibility” as a defined term of art. That is, “accessibility”
is specifically defined in the applicable statutes and regulations discussed at length in the text
below and Plaintiff is using the term in the context of those definitions, and not in the abstract.
CLASS ACTION COMPLAINT                                                                        Page 1
     Case 1:13-cv-00229-PLM ECF No. 1 filed 02/28/13 PageID.2 Page 2 of 14



       3.      If a given ATM does not include the accessibility features that are mandated by

federal law, blind consumers like Plaintiff cannot use the ATM independently and are thus faced

with the prospect of having to share private banking information with other individuals to

complete a banking transaction at the ATM. The mandatory ATM accessibility requirements at

issue in this lawsuit are calculated to permit blind and visually impaired individuals to use ATMs

independently, without having to divulge private banking information to a third party.

       4.      Notwithstanding that federal law mandates very specific ATM accessibility

requirements for the blind, a March 7, 2012 Wall Street Journal article noted the widely

publicized fact that at least 50% of the nation’s ATMs remain inaccessible to blind individuals in

violation of these laws. In that same article, a spokesperson for the National Federation of the

Blind (“NFB”) was quoted as saying: “It is absolutely unacceptable that at this late date there are

hundreds of thousands of ATMs that are still not accessible to blind people.”

       5.      As is the case nationally, a significant percentage of the ATMs throughout

Michigan continue to violate accessibility requirements mandated by federal law. Many

inaccessible ATMs are located within the geographic zone that Plaintiff typically travels as part

of her everyday activities. This shortage of accessible ATMs severely limits the ability of

Plaintiff and other blind and visually impaired individuals to benefit from the banking services

made available to the American consumer public through ATMs.

       6.      The NFB and other blind advocacy groups have been fighting to achieve ATM

accessibility since at least as early as 1999, at which time the NFB began to work with the

manufacturers of ATMs and the banking industry to encourage the addition of voice guidance

and universal tactile keypads, inter alia, to ATM machines.




CLASS ACTION COMPLAINT                                                                        Page 2
     Case 1:13-cv-00229-PLM ECF No. 1 filed 02/28/13 PageID.3 Page 3 of 14



       7.      While some financial institutions have worked pro-actively to achieve compliance

with federal ATM accessibility requirements that impact the blind community, the NFB and

other blind advocacy organizations have pursued civil litigation against financial institutions

which remain in violation of accessibility requirements long after those accessibility

requirements were first introduced.2

       8.      As noted above, to the extent that a given ATM does not comply with the

accessibility requirements mandated by federal law, it is nearly impossible for Plaintiff and

others similarly situated to independently use that ATM.3

       9.      After March 15, 2012, Plaintiff Besser visited two ATMs owned and operated by

Defendant Sturgis Bank & Trust Company (“Defendant”) located at 1121 Language Street,

South Haven, MI, 49090 (the “Subject ATM 1”), and at 365 Center Street, South Haven, MI,

49090 (the “Subject ATM 2”)(collectively, the “Subject ATMs”). The Subject ATMs are

inaccessible to the blind in violation of applicable law, as is described in detail in the text below.

       10.     The Subject ATM 1 is located approximately five miles from Plaintiff Besser’s

home, and the Subject ATM 2 is approximately thirty-eight miles from her home. The Subject

ATMs are within the geographic zone that she typically travels as part of her everyday activities.

Plaintiff Besser will continue to regularly visit the ATMs in the future as part of her effort to




2
         The history of the specific accessibility requirements applicable to ATMs is discussed in
detail in the text below.
3
         To understand how difficult it would be for a blind person to use an ATM that does not
include the accessibility features at issue in this lawsuit, a sighted individual need only close his
or her eyes, approach the ATM and attempt to perform a banking transaction—any transaction.
It is impossible to perform the transaction without vision because the input modalities for the
transaction rely upon visual cues, which are of course meaningless to somebody who is blind.
That is why an ATM is not accessible to a blind individual unless it offers voice guidance and all
of the additional accessibility requirements that are mandated by the laws at issue.
CLASS ACTION COMPLAINT                                                                         Page 3
     Case 1:13-cv-00229-PLM ECF No. 1 filed 02/28/13 PageID.4 Page 4 of 14



locate accessible ATMs that she personally can use within the geographic zone that she typically

travels as part of her everyday activities, and on behalf of the blind community, generally.

        11.     Plaintiff alleges violations of Title III of the Americans with Disabilities Act, 42

U.S.C. § 12101 et seq., (the “ADA”) and its implementing regulations.

        12.     On behalf of a class of similarly situated individuals, Plaintiff seeks a declaration

that Defendant’s ATMs violate federal law as described and an injunction requiring Defendant to

update or replace its ATMs so that they are fully accessible to, and independently usable by,

blind individuals. Plaintiff also requests that once Defendant is fully in compliance with the

requirements of the ADA, the Court retain jurisdiction for a period of time to be determined to

ensure that Defendant has adopted and is following an institutional policy that will, in fact, cause

Defendant to remain in compliance with the law.

                                  JURISDICTION AND VENUE

        13.     This Court has federal question jurisdiction over the ADA claims asserted herein

pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

        14.     Plaintiff’s claims asserted herein arose in this judicial district and Defendant does

substantial business in this judicial district.

        15.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(1) and (2) in

that this is the judicial district in which Defendant resides, and in which a substantial part of the

acts and omissions giving rise to the claims occurred.

                                                  PARTIES

        16.     Plaintiff, Cheryl Besser, is and, at all times relevant hereto, was a resident of the

State of Michigan. Plaintiff Besser is and, at all times relevant hereto, has been legally blind and




CLASS ACTION COMPLAINT                                                                         Page 4
     Case 1:13-cv-00229-PLM ECF No. 1 filed 02/28/13 PageID.5 Page 5 of 14



is therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the

regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

       17.     Defendant, Sturgis Bank & Trust Company is a savings bank organized under the

laws of the State of Michigan and is headquartered at 113-125 East Chicago Road, Sturgis, MI,

49091. Defendant is a public accommodation pursuant to 42 U.S.C. § 12181(7)(F) which offers

banking services through its ATMs.

                                       TITLE III OF THE ADA

       18.     On July 26, 1990, President George H.W. Bush signed into law the ADA, a

comprehensive civil rights law prohibiting discrimination on the basis of disability.

       19.     The ADA broadly protects the rights of individuals with disabilities with respect

to employment, access to State and local government services, places of public accommodation,

transportation, and other important areas of American life.

       20.     Title III of the ADA prohibits discrimination in the activities of places of public

accommodation and requires places of public accommodation to comply with ADA standards

and to be readily accessible to, and independently usable by, individuals with disabilities. 42

U.S.C. § 12181-89.

       21.     On July 26, 1991, the Department of Justice (“DOJ”) issued rules implementing

Title III of the ADA, which are codified at 28 CFR Part 36.4

       22.     Appendix A of the 1991 Title III regulations (republished as Appendix D to 28

CFR part 36) contains the ADA standards for Accessible Design (1991 Standards), which were




4
       The DOJ is the administrative agency charged by Congress with implementing the
requirements of the ADA.
CLASS ACTION COMPLAINT                                                                       Page 5
      Case 1:13-cv-00229-PLM ECF No. 1 filed 02/28/13 PageID.6 Page 6 of 14



based upon the Americans with Disabilities Act Accessibility Guidelines (1991 ADAAG)

published by the Access Board on the same date.5

        23.     In 1994, the Access Board began the process of updating the 1991 ADAAG by

establishing a committee composed of members of the design and construction industries, the

building code community, and State and local government entities, as well as individuals with

disabilities.

        24.     In 1999, based largely on the report and recommendations of the advisory

committee, the Access Board issued a notice of proposed rulemaking to update and revise its

ADA and ABA Accessibility Guidelines.

        25.     The Access Board issued final publication of revisions to the 1991 ADAAG on

July 23, 2004 (“2004 ADAAG”).

        26.     On September 30, 2004, the DOJ issued an advance notice of proposed

rulemaking to begin the process of adopting the 2004 ADAAG.




5
        The Access Board was established by section 502 of the Rehabilitation Act of 1973. 29
U.S.C.§ 792. The Board consists of 13 public members appointed by the President, the majority
of whom must be individuals with disabilities, and the heads of the 12 Federal departments and
agencies specified by statute, including the heads of the Department of Justice and the
Department of Transportation. Originally, the Access Board was established to develop and
maintain accessibility guidelines for facilities designed, constructed, altered, or leased with
Federal dollars under the Architectural Barriers Act of 1968. 42 U.S.C. § 4151 et seq. The
passage of the ADA expanded the Access Board’s responsibilities.
        The ADA requires the Access Board to “issue minimum guidelines . . . to ensure that
buildings, facilities, rail passenger cars, and vehicles are accessible, in terms of architecture and
design, transportation, and communication, to individuals with disabilities.” 42 U.S.C. § 12204.
The ADA requires the DOJ to issue regulations that include enforceable accessibility standards
applicable to facilities subject to Title III that are consistent with the “minimum guidelines”
issued by the Access Board, 42 U.S.C. § 12134(c), 12186(c), but vests with the Attorney General
sole responsibility for the promulgation of those standards that fall within the DOJ’s jurisdiction
and enforcement of the regulations.
        The ADA also requires the DOJ to develop regulations with respect to existing facilities
subject to Title III.
CLASS ACTION COMPLAINT                                                                        Page 6
       Case 1:13-cv-00229-PLM ECF No. 1 filed 02/28/13 PageID.7 Page 7 of 14



        27.    On June 17, 2008, the DOJ published a notice of proposed rulemaking covering

Title III of the ADA.

        28.    The long-contemplated revisions to the 1991 ADAAG culminated with the DOJ’s

issuance of The 2010 Standards for Accessible Design (“2010 Standards”). The DOJ published

the Final Rule detailing the 2010 Standards on September 15, 2010. The 2010 Standards consist

of the 2004 ADAAG and the requirements contained in subpart D of 28 CFR part 36.6

         THE ADA HAS LONG REQUIRED THAT FINANCIAL INSTITUTIONS
    THAT OWN, OPERATE, CONTROL AND/OR LEASE ATMS PROVIDE ATMS THAT
     ARE FULLY ACCESSIBLE AND INDEPENDENTLY USABLE BY BLIND PEOPLE

        29.    Since the enactment of the ADA in 1991, banks and financial institutions which

provide banking services through ATMs have been required to ensure that all banking services

available at the ATM are fully accessible to, and independently usable by, individuals who are

blind. The 1991 DOJ Standards required that “instructions and all information for use shall be

made accessible to and independently usable by persons with vision impairments.” 28 CFR part

36, App. A. section 4.34.4.

        30.    Initially, the ADA and its implementing regulations did not provide technical

details defining the steps required to make an ATM fully accessible to and independently usable

by blind individuals.

        31.    However, after a lengthy rulemaking process wherein the Access Board

entertained extensive input from all stakeholders, the 2004 ADAAGs adopted very specific

guidelines calculated to ensure that ATM banking services were, in fact, fully accessible to, and

independently usable by, individuals who are blind.


6
        Though the Effective Date of the 2010 Standards was March 15, 2011, the
communication elements of Chapter 7 of the Standards—which frame Plaintiff’s allegations in
this case—did not become effective until March 15, 2012, at which time the 2010 Standards
became enforceable through civil actions by private plaintiffs.
CLASS ACTION COMPLAINT                                                                     Page 7
     Case 1:13-cv-00229-PLM ECF No. 1 filed 02/28/13 PageID.8 Page 8 of 14



        32.    Section 220.1 of the 2004 ADAAGs stated that “where automatic teller machines

. . . are provided, at least one of each type provided at each location shall comply with Section

707.”

        33.    In turn, Section 707 of the 2004 ADAAGs delineated very precise accessibility

guidelines for ATMs, including guidelines calculated to ensure that ATMs are fully accessible

to, and independently usable by, visually impaired individuals. These guidelines included, inter

alia, the following elements: ATMs shall be speech enabled (i.e. talking ATMs)—Section

707.5; input controls shall be tactilely discernible—Section 707.6; function keys shall have

specific tactile symbols—Section 707.6.3.2; Braille instructions shall be provided for initiating

the speech mode.

        34.    As noted, the 2010 Standards adopt the 2004 ADAAGs. The communication

elements of the 2010 Standards are set forth at Section 7-- including, in relevant part, the

elements which are expressly calculated to make ATMs fully accessible to, and independently

usable by, visually impaired individuals. The Section 7 communication elements became fully

effective on March 15, 2012.7

        35.    Defendant owns, operates, controls and/or leases a place of public

accommodation.

        36.    Defendant’s ATMs are not fully accessible to, and independently usable by, blind

individuals. Some of Defendant’s ATMs do not include functional voice guidance and suffer

from myriad additional violations of Section 7 of the 2010 Standards.



7
        The DOJ has consistently taken the position that the communication-related elements of
ATMs are auxiliary aids and services, rather than structural elements. See 28 CFR part 36, app. B
at 728 (2009). Thus, the 2010 Standards do not provide a safe-harbor provision for
implementation of these requirements unless compliance would cause an “undue hardship” upon
a public accommodation.
CLASS ACTION COMPLAINT                                                                         Page 8
     Case 1:13-cv-00229-PLM ECF No. 1 filed 02/28/13 PageID.9 Page 9 of 14



        37.    Defendant does not have an institutional policy that is reasonably calculated to

ensure that its ATMs be fully accessible to, and independently usable by, visually impaired

individuals, as those terms are informed by Section 7 of the 2010 Standards.

                                    VIOLATIONS AT ISSUE

        38.    After March 15, 2012, Plaintiff Besser visited Defendant’s ATMs located at

08253 M-140, P.O. Box 425, South Haven, MI 49090 (the “Subject ATM 1”), and at 365 Center

Street, South Haven, MI, 49090 (the “Subject ATM 2”).

        39.    When Plaintiff visited Defendant’s ATMs, she had in her possession an ATM

card, and headphones that are compatible with the 2010 Standards, and intended to avail herself

of the banking services offered through Defendant’s ATMs.

        40.    At the time of the visit, the Subject ATM 1 violated Chapter 7 of the 2010

Standards in that: there was no voice-guidance feature (Section 707.5); there were no Braille

instructions for initiating speech mode (Section 707.8); and the function keys did not have the

proper tactile symbols (Section 707.6.3.2).

        41.    The Subject ATM 1 is within the geographic zone that Plaintiff Besser typically

travels as part of her everyday activities as it is located within six (6) miles from her home.

        42.    At the time of the visit, the Subject ATM 2 violated Chapter 7 of the 2010

Standards in that: there was no voice-guidance feature (Section 707.5); there were no Braille

instructions for initiating speech mode (Section 707.8); and the function keys did not have the

proper tactile symbols (Section 707.6.3.2).

        43.    The Subject ATM 2 is within the geographic zone that Plaintiff Besser typically

travels as part of her everyday activities as it is located within thirty-eight (38) miles from her

home.



CLASS ACTION COMPLAINT                                                                         Page 9
    Case 1:13-cv-00229-PLM ECF No. 1 filed 02/28/13 PageID.10 Page 10 of 14



        44.    To date, Plaintiff has not had the practical ability to use the Subject ATMs

because they are in violation of the 2010 Standards (and prior to the effective date of the 2010

Standards, the Subject ATMs were not otherwise readily accessible to or independently usable

by blind individuals).

        45.    Plaintiff will continue to attempt to use the Subject ATMs because she wants to

identify convenient accessible ATM options within the geographic zone that she typically travels

as part of her everyday activities, and she wants to increase ATM accessibility for the blind

community, generally. However, so long as the Subject ATMs continue to violate Section 7,

Plaintiff will be unable to use them independently and will be, thereby, deterred from visiting

them.

        46.    Based upon an investigation performed on Plaintiff’s behalf, Plaintiff has actual

notice that additional ATMs in Defendant’s ATM network are similarly in violation of Chapter 7

of the 2010 Standards. Plaintiff would visit these additional ATMs but for the violations of

which she has actual notice.

        47.    Though Defendant has centralized policies regarding the management and

operation of its ATMs, Defendant does not have a plan or policy that is reasonably calculated to

cause its ATMs to be in timely compliance with Chapter 7 of the 2010 Standards, as is

demonstrated by the fact that its network remains out of compliance.

        48.    Plaintiff uses ATMs that meet the accessibility requirements of the 2010

Standards, but these ATMs are often not conveniently located.

        49.    A significant percentage of the ATMs that are located within the geographic zone

that Plaintiff typically travels as part of her everyday activities do not comply with the 2010

Standards and are therefore inaccessible to blind individuals like Plaintiff.



CLASS ACTION COMPLAINT                                                                      Page 10
    Case 1:13-cv-00229-PLM ECF No. 1 filed 02/28/13 PageID.11 Page 11 of 14



       50.     In contrast to an architectural barrier at a public accommodation, wherein a

remediation of the barrier to cause compliance with the ADA provides a permanent or long-term

solution, the addition of, or repair to, a speech enabling function (and other related accessibility

requirements) provided at the ATM of a public accommodation requires periodic monitoring to

confirm, not only that the public accommodation is in compliance in the first instance, but also

that the public accommodation remains in compliance.

       51.     Without injunctive relief, Plaintiff will continue to be unable to independently use

Defendant’s ATMs in violation of their rights under the ADA.

                               CLASS ACTION ALLEGATIONS

       52.     Plaintiff brings this action pursuant to Rules 23(a) and 23(b)(2) of the Federal

Rules of Civil Procedure on behalf of herself and all legally blind individuals who have

attempted to access, or will attempt to access, Defendant’s ATMs.

       53.     The class described above is so numerous that joinder of all individual members

in one action would be impracticable. The disposition of the individual claims of the respective

class members through this class action will benefit both the parties and this Court.

       54.     Typicality: Plaintiff’s claims are typical of the claims of the members of the

class. The claims of the Plaintiff and members of the class are based on the same legal theories

and arise from the same unlawful conduct.

       55.     Common Questions of Fact and Law: There is a well-defined community of

interest and common questions of fact and law affecting members of the class in that they all

have been and/or are being denied their civil rights to full and equal access to, and use and

enjoyment of, Defendant’s facilities and/or services due to Defendant’s failure to make its ATMs

fully accessible and independently usable as above described.



CLASS ACTION COMPLAINT                                                                       Page 11
    Case 1:13-cv-00229-PLM ECF No. 1 filed 02/28/13 PageID.12 Page 12 of 14



         56.     The questions of fact and law common to the class include but are not limited to

the following:

                 a.     Whether Defendant is a “public accommodation” under the ADA;

                 b.     Whether Defendant’s conduct in failing to make its ATMs fully accessible

                        and independently usable as above described violated the ADA, 42 U.S.C.

                        § 12101 et seq.; and

                 c.     Whether Plaintiff and members of the class are entitled to declaratory and

                        injunctive relief, and also costs and/or attorneys’ fees for Defendant’s acts

                        and conduct.

         57.     Adequacy of Representation: Plaintiff is an adequate representatives of the class

because her interests do not conflict with the interests of the members of the class. Plaintiff will

fairly, adequately, and vigorously represent and protect the interests of the members of the class

and has no interests antagonistic to the members of the class. Plaintiff has retained counsel who

are competent and experienced in the prosecution of class action litigation.

         58.     Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because

Defendant has acted or refused to act on grounds generally applicable to the Class, making

appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as a

whole.

                                  SUBSTANTIVE VIOLATION

         59.     The allegations contained in the previous paragraphs are incorporated by

reference.




CLASS ACTION COMPLAINT                                                                       Page 12
    Case 1:13-cv-00229-PLM ECF No. 1 filed 02/28/13 PageID.13 Page 13 of 14



       60.     Defendant has discriminated against Plaintiff and the Class in that it has failed to

make its ATM banking services fully accessible to, and independently usable by, individuals

who are blind in violation of Section 707 of the 2010 Standards, as described above.

       61.     Complying with the ADA and Section 707 of the 2010 Standards would neither

fundamentally alter the nature of Defendant’s banking services nor result in an undue burden to

Defendant.

       62.     Defendant’s conduct is ongoing, and, given that Defendant has not complied with

the ADA’s requirements that public accommodations make ATM services fully accessible to,

and independently usable by, blind individuals—as specifically defined in Section 707 of the

2010 Standards, Plaintiff invokes her statutory right to declaratory and injunctive relief, as well

as costs and attorneys’ fees.

       63.     Without the requested injunctive relief, specifically including the request that the

Court retain jurisdiction of this matter for a period to be determined after the Defendant certifies

that it is fully in compliance with the mandatory requirements of the ADA that are discussed

above, Defendant’s non-compliance with the ADA’s requirements that its ATMs be fully

accessible to, and independently usable, by blind people is likely to recur.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and the members of the class, prays for:

       a.      A Declaratory Judgment that at the commencement of this action Defendant was
               in violation of the specific requirements of Title III of the ADA described above
               (specifically including Section 707 of the 2010 Standards);

       b.      A permanent injunction which directs Defendant to take all steps necessary to
               bring its ATMs into full compliance with the requirements set forth in the ADA,
               and its implementing regulations, and which further directs that the Court shall
               retain jurisdiction for a period to be determined after Defendant certifies that all
               of its ATMs are fully in compliance with the relevant requirements of the ADA to



CLASS ACTION COMPLAINT                                                                      Page 13
  Case 1:13-cv-00229-PLM ECF No. 1 filed 02/28/13 PageID.14 Page 14 of 14



           ensure that Defendant has adopted and is following an institutional policy that
           will in fact cause Defendant to remain in compliance with the law;

      c.   An Order certifying the class proposed by Plaintiff, and naming Plaintiff as class
           representative and appointing her counsel as class counsel;

      d.   Payment of costs of suit;

      e.   Payment of reasonable attorneys’ fees; and,

      f.   The provision of whatever other relief the Court deems just, equitable and
           appropriate.




 Dated:    February 28, 2013                     Respectfully Submitted,


                                                /s/ Daniel O. Myers _
                                                Daniel O. Myers
                                                The Law Offices of Daniel O. Myers
                                                100 Park Street
                                                Traverse City, Michigan 49684
                                                Phone: (231) 929-0500 ext. 122
                                                Fax: (231) 929-0504
                                                Email: dmyers@domlawoffice.com
                                                Website: www.domlawoffice.com



                                                 R. Bruce Carlson
                                                 bcarlson@carlsonlynch.com
                                                 (to be admitted pro hac vice)
                                                 CARLSON LYNCH LTD
                                                 PNC Park
                                                 115 Federal Street, Suite 210
                                                 Pittsburgh, PA 15212
                                                 www.carlsonlynch.com
                                                 (p) 412.322.9243
                                                 (f) 412.231.0246




CLASS ACTION COMPLAINT                                                                  Page 14
